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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA
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 9     TESLA, INC., a Delaware Corporation,                   Case No. 3:18-cv-00296-LRH-CLB

10                                           Plaintiff,       ORDER
11            v.

12     MARTIN TRIPP,

13                                         Defendant.
14

15     MARTIN TRIPP,
16                                   Counterclaimant,
17            v.
18     TESLA, INC., a Delaware Corporation,
19                                 Counter-defendant.
20

21           Defendant and counterclaimant Martin Tripp has filed a Daubert motion to exclude the

22    opinions of Jeffrey Kinrich, a damages expert hired by plaintiff and counter-defendant Tesla, Inc.

23    (ECF No. 86). Tripp also filed a motion to seal his Daubert motion (ECF No. 87), but within the

24    motion, he requested that it be denied. The Court will address the Daubert motion itself first.

25           Tripp argues that the Court should exclude any opinions offered by Kinrich under Federal

26    Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579 (1993),

27    because: (1) he failed to conduct a proper event study; (2) he admitted at his deposition that he

28    could not demonstrate that Tripp caused Tesla’s market valuation to decrease, and (3) the market
                                                          1
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 1    “erased” any “minor dips” in Tesla’s stock price that occurred following the publication of news

 2    articles critical of Tesla’s practices in its Gigafactory. (ECF No. 86 at 2). Tripp’s Daubert motion,

 3    however, is premature. Generally, evidentiary-related motions like Daubert motions should not be

 4    adjudicated until the eve of trial and after a pretrial order has been filed. Jones v. Harris, 665

 5    F.Supp.2d 384, 404 (S.D.N.Y. 2009). Here, discovery is still ongoing, with the discovery deadline

 6    currently scheduled for January 31, 2020. (ECF No. 99 at 3). The dispositive motion deadline is

 7    currently March 2, 2020. (Id. at 4). It is therefore premature for the Court to adjudicate Tripp’s

 8    motion to exclude Kinrich’s opinions, especially considering that the parties are currently litigating

 9    a motion to compel concerning a potential deposition of Tesla’s CEO Elon Musk. If Tesla has any

10    claims remaining against Tripp following the adjudication of any dispositive motions that may be

11    filed, Tripp may refile his Daubert motion after entry of the pretrial order.

12           Turning to Tripp’s motion to seal the Daubert motion, Tripp states that he filed the motion

13    because under the protective order governing this case, he was required to file such a motion if

14    any of the documents included in the filing were designated as confidential. (ECF No. 87 at 2). He

15    notes that only three exhibits (out of five) he filed in support of his Daubert motion were

16    designated as confidential, but Tesla has “abused the protective order by lavishly designating

17    anything and everything” as confidential. (Id.) In response, Tesla states that only Exhibit C should

18    be sealed because it contains confidential salary information regarding its employees and the rates

19    it paid to Nisos Group, a digital intelligence investigation company. (ECF No. 90 at 2). It does not

20    argue that any of the other four exhibits should be sealed. The issue here, however, is that Tripp

21    filed his Daubert motion with all five supporting exhibits directly attached to his substantive

22    motion. It is therefore impossible for the Court to seal only Exhibit C while leaving the motion

23    and other exhibits unaffected. Given that the Court has determined that Tripp’s Daubert motion is

24    premature, the Court will similarly deny the motion to seal as moot. But to maintain the

25    confidentiality of the information contained in Exhibit C, the Court will leave Tripp’s Daubert

26    motion under seal. If Tripp refiles his Daubert motion, he must file an unredacted copy of his

27    motion and all exhibits under seal, a complete redacted copy not under seal, and a motion to seal

28    the unredacted copy. Because the parties eventually agreed on what information should and should
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 1    not be redacted or under seal, they are instructed to meet and confer with one another prior to the

 2    filing of any further motions containing confidential information to avoid unnecessary disputes.

 3           IT IS THEREFORE ORDERED that Martin Tripp’s motion to seal (ECF No. 87) is

 4    DENIED AS MOOT. However, ECF No. 86 shall remain under seal for the reason stated herein.

 5           IT IS FURTHER ORDERED that Tripp’s Daubert motion (ECF No. 86) is DENIED

 6    WITHOUT PREJUDICE.

 7           IT IS SO ORDERED.

 8           DATED this 27th day of November, 2019.

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10                                                         LARRY R. HICKS
                                                           UNITED STATES DISTRICT JUDGE
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